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6
                                    UNITED STATES DISTRICT COURT
7
                                   CENTRAL DISTRICT OF CALIFORNIA
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     IMMIGRANT DEFENDERS LAW                    )   Case No. CV 21-0395 FMO (RAOx)
10   CENTER, et al.,                            )
                                                )
11                         Plaintiffs,          )
                                                )   ORDER RE: BRIEFING SCHEDULE
12                v.                            )
                                                )
13   U.S. DEPARTMENT OF HOMELAND                )
     SECURITY, et al.,                          )
14                                              )
                           Defendants.          )
15                                              )

16         On the court’s own motion, IT IS ORDERED that:

17         1. The parties shall submit supplemental briefing addressing, at a minimum, whether the

18   Supreme Court’s recent decision in Biden v. Texas, 2022 WL 2347211 (2022) affects the relief

19   requested in this case.

20         2. Plaintiffs shall file the supplemental brief, which may not exceed five pages in length,

21   no later than July 15, 2022.

22         3. Defendants shall file their response brief, which may not exceed five pages in length,

23   no later than July 22, 2022.

24         4. Plaintiffs shall file a reply brief, which may not exceed three pages in length, no later

25   than July 29, 2022.

26   Dated this 5th day of July, 2022.

27                                                   /s/
                                                                 Fernando M. Olguin
28                                                            United States District Judge
